Case 2:21-bk-15342-BB         Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25             Desc
                               Main Document    Page 1 of 15


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10

11                            UNITED STATES BANKRUPTCY COURT

12              CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

13    In re:                                             Case No. 2:21-bk-15342-BB

14    VITALY IVANOVICH SMAGIN,                           Chapter 15

15              Debtor in a Foreign Proceeding.          FIRST STATUS REPORT

16                                                       Judge: Hon. Sheri Bluebond
                                                         Date: September 15, 2021
17                                                       Time: 11:00 a.m. (PT)
                                                         Place: Via Videoconference
18

19             Evgeniy Nikolaevich Ratnikov, as the Foreign Representative in this Chapter 15 case
20   (“Mr. Ratnikov” or the “Foreign Representative”), hereby files this First Status Report (this
21   “Status Report”) in accordance with the Court’s Order Granting Relief in Aid of a Foreign
22   Main Proceeding Pursuant To 11 U.S.C. § 1521, dated August 13, 2021 [Dkt. No. 84] (the
23   “Additional Relief Order”).
24                                          BACKGROUND
25             On June 30, 2021, Mr. Ratnikov filed with the Court, a petition (“Chapter 15
26   Petition”) for recognition of the ongoing liquidation proceeding against Vitaly Ivanovich
27   Smagin (“Mr. Smagin” or the “Debtor”) in the Arbitration Court of the City of Moscow (the
28

                                                     1
Case 2:21-bk-15342-BB         Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25                  Desc
                               Main Document    Page 2 of 15


 1
     “Russian Proceeding”) under Federal Law No 127-FZ “On Insolvency (Bankruptcy)” (the
 2
     “Russian Bankruptcy Law”) as a foreign main proceeding under the Bankruptcy Code.
 3
            By Order dated July 30, 2021 [Dkt. No. 50] (the “Recognition Order”), the Court
 4
     granted recognition of the Russian Proceeding and Mr. Ratnikov as the duly appointed foreign
 5
     representative of the Russian Proceeding.
 6
            Following hearings held before the Court, on August 13, 2021, by the Additional Relief
 7
     Order, the Court granted additional relief to the Foreign Representative, and directed the
 8
     selection and appointment of an Independent Third-Party (as defined in the Additional Relief
 9
     Order; referred to herein also as the “ITP”) to administer the RICO Action and to be kept
10
     informed by the Foreign Representative regarding the other Subject Litigations as set forth in
11
     the Additional Relief Order.1 Pursuant to such order, the Foreign Representative is required
12
     to file monthly status reports prior to the 10th of each month. This is the first status report.
13
                                           STATUS UPDATE
14
            The following has transpired since entry of the Additional Relief Order:
15
           A.       Pursuant to the Additional Relief Order, counsel for the Debtor and Foreign
16
     Representative conferred about the appointment of an Independent Third-Party, and the
17
     Debtor, in consultation with his counsel Baker & McKenzie, LLP (“Baker”) selected
18
     SierraConstellation Partners, LLP (“SCP”) to provide the services of SCP’s Founder and Chief
19
     Executive Officer, Lawrence R. Perkins (“Mr. Perkins”), as the Independent Third-Party. A
20
     Joint Notice of Foreign Representative and Foreign Debtor regarding Appointment of the
21
     Independent Third-Party [Dkt. No. 91] was filed with the Court on September 3, 2021. SCP
22
     has selected Skadden, Arps, Slate, Meagher & Flom LLP (“Skadden”) to serve as counsel for
23
     the Independent Third-Party.
24
           B.       The Foreign Representative has been working in the Russian Proceeding to
25
     arrange for financing of fees and expenses for the ITP, including arranging for a meeting of
26
     the creditors to obtain approval of the initial retainer request made by the ITP in the amount of
27
     1
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to
28
         such terms in the Additional Relief Order.
                                                       2
Case 2:21-bk-15342-BB        Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25                 Desc
                              Main Document    Page 3 of 15


 1
     $50,000. The meeting of creditors was held on September 8, 2021 and creditors approved the
 2
     funding of the ITP’s retainer request. However, due to the timing of the request for the retainer
 3
     of the ITP’s counsel in the additional amount of $100,000, that retainer has not yet been
 4
     approved by the creditors. The Foreign Representative is continuing to work to arrange for
 5
     such additional funding.
 6
           C.       The Foreign Representative (and his counsel) has conferred with the
 7
     Independent Third-Party (and his counsel) regarding, among other things, the background of
 8
     this Chapter 15 case and the Subject Litigations as well as the Foreign Representative’s
 9
     confidential proposed strategy and next steps concerning the relevant Subject Litigations.
10
           D.       In an effort to identify assets that should be turned over to the Debtor in
11
     accordance with the U.S. Judgment, pursuant to section 1521(a)(4) of the Bankruptcy Code,
12
     counsel for the Foreign Representative has prepared and is in the process of serving discovery
13
     on Ashot Yegiazaryan as well as on certain other parties that may have relevant information
14
     concerning Mr. Yegiazaryan’s assets or finances.
15
           E.       Counsel for the Foreign Representative has prepared a motion to be substituted
16
     for the Debtor, as Plaintiff, in the Enforcement Action. Pursuant to local court rules, the
17
     Foreign Representative must confer with the other parties before filing the motion and the
18
     Foreign Representative has initiated that process with Mr. Yegiazaryan and Mr. Smagin
19
     (through his counsel Baker). Baker has requested to confer next week. Counsel for the Foreign
20
     Representative will confer with Baker early next week to discuss Mr. Smagin’s position. Mr.
21
     Yegiazaryan has responded he does not intend to object to the substitution motion. The ITP
22
     and his counsel are aware of this status.
23
           F.       There are no known deadlines upcoming during the next prospective 40 days
24
     relating to the Enforcement Action or Fraudulent Conveyance Action.
25
           G.       The Foreign Representative is monitoring the ongoing divorce and division of
26
     property proceedings between Mr. Yegiazaryan and his wife that are ongoing in California and
27
     in Russia, to protect against the dissipation of assets that could be used to satisfy Mr.
28

                                                     3
Case 2:21-bk-15342-BB         Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25              Desc
                               Main Document    Page 4 of 15


 1
     Yegiazaryan’s obligations to Mr. Smagin. The Foreign Representative has filed a notice of
 2
     lien in the California divorce proceeding to prevent such an occurrence and will continue to
 3
     monitor, and will intervene if appropriate, in the California and Russian divorce proceedings.
 4
           H.       As noted in the Foreign Representative’s Notice Pursuant To 11 U.S.C. §
 5
     1518(2) Of Change Of Status Concerning The Commencement Of Another Foreign Proceeding
 6
     regarding the Debtor, filed with the Court on August 9, 2021 [Dkt. No. 68] (the “1518 Notice”),
 7
     subsequent to the filing of the Chapter 15 Petition, a new foreign proceeding was commenced
 8
     in the Principality of Liechtenstein against the Foreign Debtor (the “Liechtenstein
 9
     Proceeding”). A true and correct English translation of the Princely Country Court for the
10
     Principality of Liechtenstein decision opening the Liechtenstein Proceeding, which was
11
     omitted from the 1518 Notice, is attached hereto as Exhibit A. The Foreign Representative
12
     challenged the commencement of the Liechtenstein Proceeding and appointment of a separate
13
     manager. The Princely Country Court for the Principality of Liechtenstein presiding over the
14
     Liechtenstein Proceeding recently denied the Foreign Representative’s challenge. The Foreign
15
     Representative has since learned that the Liechtenstein Proceeding was initiated by persons
16
     affiliated with the Lionmoor Foundation, an entity established by and for the benefit of Mr.
17
     Smagin and to which he subsequently made the Unauthorized Receivables Transfer in
18
     violation of Russian law and the orders of the Moscow Court. The Foreign Representative
19
     reserves all rights with respect thereto.
20
     Dated: September 10, 2021                    RAINES FELDMAN LLP
21

22                                                By:    /s/ Hamid R. Rafatjoo
                                                         Hamid R. Rafatjoo
23                                                       Carollynn H.G. Callari
                                                         David S. Forsh
24
                                                 Counsel for the Foreign Representative
25

26

27

28

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Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25   Desc
                         Main Document    Page 5 of 15




                        EXHIBIT A
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                         Main Document    Page 6 of 15




                                                                  Exhibit A, Page 5
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                         Main Document    Page 7 of 15




                                                                  Exhibit A, Page 6
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                         Main Document    Page 8 of 15




                                                                  Exhibit A, Page 7
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                         Main Document    Page 9 of 15




                                                                  Exhibit A, Page 8
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                        Main Document    Page 10 of 15




                                                                  Exhibit A, Page 9
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                        Main Document    Page 11 of 15




                                                                 Exhibit A, Page 10
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                        Main Document    Page 12 of 15




                                                                 Exhibit A, Page 11
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                        Main Document    Page 13 of 15




                                                                 Exhibit A, Page 12
Case 2:21-bk-15342-BB   Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25      Desc
                        Main Document    Page 14 of 15




                                                                 Exhibit A, Page 13
            Case 2:21-bk-15342-BB                  Doc 97 Filed 09/10/21 Entered 09/10/21 12:18:25                                     Desc
                                                   Main Document    Page 15 of 15



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1800 Avenue of the Stars, 12th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify):
   FIRST STATUS REPORT
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/10/2021 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Destiny N Almogue destiny.almogue@skadden.com,
        dlmlclac@skadden.com;wendy.lamanna@skadden.com
       Eryk R Escobar eryk.r.escobar@usdoj.gov, Hatty.yip@usdoj.gov
       David B Golubchik dbg@lnbyb.com, stephanie@lnbyb.com
       Nicholas O Kennedy nicholas.kennedy@bakermckenzie.com,
        karen.wagner@bakermckenzie.com;Nathaniel.Wilkes@bakermckenzie.com;Carmen.Ayala
        @bakermckenzie.com;Nada.Hitti@bakermckenzie.com
       Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com
       Thomas Tysowsky thomas.tysowsky@bakermckenzie.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date 9/10/2021) I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Honorable Sheri Bluebond
United States Bankruptcy Judge
255 E. Temple Street, Suite 1534
Los Angeles, CA 90012
                                                                           Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 9/10/2021                                Bambi Clark                                           /s/ Bambi Clark
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
2918364.1
